           Case 1:14-cv-00653-VEC Document 280 Filed 11/26/18 Page 1 of 1



                                    LAW OFFICES OF
                             WONG, WONG & ASSOCIATES, P.C.
   RAYMOND H. WONG *                        150 BROADWAY, SUITE 1588                        NEW JERSEY OFFICE
   VALERIE Y. C. WONG *                        NEW YORK, NY 10038                       12 ROSZEL RD, STE A102
   ____________                                PHONE: (212) 566-8080                       PRINCETON, NJ 08540
                                             FACSIMILE: (212) 566-8960                     PHONE: (609) 520-1668
   ANTONY LEMBERSKY *                                                                  FACSIMILE: (609) 520-1168
   NATALYA RUTCHYK *
   EFRAIM S. LIPSCHUTZ ‡                                                               * MEMBER NY & NJ BARS
   ROBERT JUN ‡                                                                        # MEMBER NY & CT BARS
                                                                                            ‡ MEMBER NY BAR




  November 26, 2018

  VIA ECF Filing
  Hon. Valerie E. Caproni
  United States District Court
  Southern District of New York
  40 Foley Square
  New York, NY 10007

                                  Re:     Huang v. WCJ Seafood Restaurant, et al.
                                          Case No.: 1:14-cv-00653(VEC)

  Dear Judge Caproni:

  This Firm formerly represented Plaintiff Wen Bin Huang (“Huang” or the “Plaintiff”) in the above
  captioned action. The undersigned respectfully requests an adjournment to the hearing scheduled
  for tomorrow, November 27, 2018. The adjournment is requested due to an unforeseen family
  medical emergency. I spoke to opposing counsel, Heng Wang Esq., and he is consenting to this
  adjournment. Due to the emergency nature of this adjournment request, the parties will continue
  to confer regarding a future date that will work for both sides.

  Thank you for your time and attention. Please do not hesitate to contact the undersigned if you
  have any questions.


Dear Judge Caproni,                                        Respectfully submitted,
                                                           Wong, Wong & Associates, P.C.
I am filing this letter as a courtesy to Wong & Wong. _____/s/Antony Lembersky______
Today I learned from my adversary Antony                   Antony Lembersky, Esq. (AL5885)
Lembersky that a family member of his was admitted Former Attorneys for Plaintiff
                                                           150 Broadway, Suite 1588
to the hospital due to a serious medical condition.
                                                           New York, New York 10038
In light of this, I consented to his request for an        Tel: (212) 566-8080
adjournment. I was then contacted by Wong & Wong Fax: (212) 566-8960
saying that Mr. Lembersky is currently in the hospital
with that family member, and was not able to file this
                                                     1 letter. As such, I agreed to file this letter with the Court. Mr.
Lemberskey indicated that he would not be able to handle the hearing tomorrow. As such, unless otherwise
instructed by the Court, I will not bring the witness to the Court tomorrow. I will call the Court tomorrow morning
to follow up the status of this request. Thank you! - Heng Wang
